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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

JANICE GAY,                 §
                            §
                 Plaintiff, §
                            §
VS.                         §                     Civil Action No. 3:18-CV-1378-D
                            §
MANCHESTER MANAGEMENT, LLC, §
                            §
                 Defendant. §

                               MEMORANDUM OPINION
                                   AND ORDER

       In this action arising from an employee’s claim for unpaid overtime compensation

under the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. § 201 et seq., the court

must decide whether the claim is subject to mandatory, binding arbitration. Concluding that

it is, the court grants defendant’s motion to dismiss and dismisses this action with prejudice

by judgment filed today.

                                              I

       This is a suit by plaintiff Janice Gay (“Gay”) against defendant Manchester

Management, LLC (“Manchester”) to recover unpaid overtime pay under 29 U.S.C. §

207(a)(1), a provision of the FLSA. As a condition of employment, Gay entered into an

arbitration agreement (the “Agreement”) with Manchester. In the Agreement, both Gay and

Manchester agreed to “waiv[e] all rights they ha[d] under law to have disputes resolved in
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court.” D. Mot. Ex. A at 1.1 The Agreement specifies that all claims related to Gay’s

employment will “be resolved exclusively through binding arbitration,” and that “such claims

include, but are not limited to . . . claims and/or violations under the . . . Fair Labor Standards

Act (“FLSA”) (wage and hour).” Id. The Agreement also provides that “all claims, disputes,

or controversies arising out of, or related to [the] agreement, including but not limited to its

validity, scope . . . [and] enforceability,” are subject to binding arbitration. Id. And the

Agreement directs that “arbitration proceedings shall be conducted . . . in accordance with

the Employment Arbitration Rules of the American Arbitration Association,” and that “the

Federal Arbitration Act, 9 U.S.C. § 1, et seq, shall govern this Agreement and the

arbitration.” Id. at 2.

       Manchester moves to dismiss Gay’s FLSA claim, contending that it falls within the

scope of the Agreement and that the dismissal should be with prejudice. Gay opposes the

motion. She contends that the Agreement cannot be enforced because it is unconscionable;

that the Agreement is invalid for illusory consideration; and that if the court were to order

arbitration, these proceedings should be stayed rather than dismissed. Manchester replies,


       1
         The court is citing the record in this manner because Manchester did not comply with
N.D. Tex. Civ. R. 7.1(i)(1) and (4) in briefing this motion. Rule 7.1(i)(1) provides that “[a]
party who relies on materials—including depositions, documents, electronically stored
information, affidavits, declarations, stipulations, admissions, interrogatory answers, or other
materials—to support or oppose a motion must include the materials in an appendix.” Rule
7.1(i)(4) provides, in relevant part, that “[e]ach page of the appendix must be numbered
legibly in the lower, right-hand corner. The first page must be numbered as ‘1,’ and
succeeding pages must be numbered sequentially through the last page of the entire appendix
(i.e., the numbering system must not re-start with each succeeding document in the
appendix).’” Manchester did not include its exhibits in a properly paginated appendix.

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inter alia, that questions of validity and enforceability have been delegated to the arbitrator.

                                                II

       Section 2 of the Federal Arbitration Act (“FAA”) provides that written agreements to

arbitrate controversies arising out of an existing contract “shall be valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract.” 9 U.S.C. § 2. The FAA “leaves no place for the exercise of discretion by a district

court, but instead mandates that district courts shall direct the parties to proceed to arbitration

on issues as to which an arbitration agreement has been signed.” Dean Witter Reynolds, Inc.

v. Byrd, 470 U.S. 213, 218 (1985) (citing 9 U.S.C. §§ 3-4) (emphasis in original). When

considering a motion to dismiss claims because they are allegedly subject to binding

arbitration, the court engages in a two-step process. First, the court determines “whether the

parties agreed to arbitrate the dispute.” Webb v. Investacorp, Inc., 89 F.3d 252, 258 (5th Cir.

1996) (per curiam) (citation omitted). “This determination involves two considerations: (1)

whether there is a valid agreement to arbitrate between the parties; and (2) whether the

dispute in question falls within the scope of that arbitration agreement.” Id. (citations

omitted). Second, the court decides “‘whether legal constraints external to the parties’

agreement foreclosed the arbitration of those claims.’” Id. (quoting Mitsubishi Motors Corp.

v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628 (1985)). “If there is a valid agreement

to arbitrate, and there are no legal constraints that foreclose arbitration, the court must order

the parties to arbitrate their dispute.” Celaya v. Am. Pinnacle Mgmt. Servs., LLC, 2013 WL

4603165, at *2 (N.D. Tex. Aug. 29, 2013) (Fitzwater, C.J.). Because of the strong

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presumption in favor of arbitration, the party opposing dismissal bears the burden of proving

that the agreement is invalid or that the claims are outside the scope of the agreement. Carter

v. Countrywide Credit Indus., Inc., 362 F.3d 294, 297 (5th Cir. 2004).

       “[W]here the arbitration agreement contains a delegation clause giving the arbitrator

the primary power to rule on the arbitrability of a specific claim, the analysis changes.”

Kubala v. Supreme Prod. Servs., 830 F.3d 199, 201 (5th Cir. 2016) (citing First Options of

Chi., Inc. v. Kaplan, 514 U.S. 938, 942 (1995)). A delegation clause is “an agreement to

arbitrate threshold issues concerning the arbitration agreement.” Rent-A-Ctr., W., Inc. v.

Jackson, 561 U.S. 63, 68 (2010). It is “simply an additional, antecedent agreement” between

the parties. Id. at 70. “When a delegation clause is present, a different issue must be

addressed: “‘Who should have the primary power to decide’ whether the claim is arbitrable.”

Kubala, 830 F.3d at 202 (quoting Kaplan, 514 U.S. at 942). “Delegation clauses are

enforceable and transfer the court’s power to decide arbitrability questions to the arbitrator.”

Id. The presence of a delegation clause obligates the court to “refer a claim to arbitration to

allow the arbitrator to decide gateway arbitrability issues.” Id. (citing Rent-A-Ctr., 561 U.S.

at 68-69). When a party seeking arbitration directs the court to a “purported delegation

clause, the court’s analysis is limited.” Id.

       The court first determines “whether the parties entered into any arbitration agreement

at all.” Id. at 201 (emphasis in original). The court must “distinguish between ‘validity’ or

‘enforceability’ challenges and ‘formation’ or ‘existence’ challenges.” Arnold v. HomeAway,

Inc., 890 F.3d 546, 550 (5th Cir. 2018). “[W]here the ‘very existence of a contract’

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containing the relevant arbitration agreement is called into question, the federal courts have

authority and responsibility to decide the matter.” Banc One Acceptance Corp. v. Hill, 367

F.3d 426, 429 (5th Cir. 2004) (quoting Will-Drill Res., Inc. v. Samson Res. Co., 352 F.3d

211, 218 (5th Cir. 2003)). If the court determines that the parties did enter into such an

agreement, then “the only question . . . is whether the purported delegation clause is in fact

a delegation clause—that is, if it evinces an intent to have the arbitrator decide whether a

given claim must be arbitrated.” Kubala, 830 F.3d at 202. The party arguing “that an

arbitrator has authority to decide arbitrability ‘bears the burden of demonstrating clearly and

unmistakably that the parties agreed to have the arbitrator decide that threshold question.’”

Hous. Ref., L.P. v. United Steel, Paper & Forestry, Rubber, Mfg., 765 F.3d 396, 408 (5th Cir.

2014) (quoting ConocoPhillips, Inc. v. Local 13-0555 United Steelworkers Int’l Union, 741

F.3d 627, 630 (5th Cir. 2014)). “If there is a delegation clause, the motion to [dismiss]

should be granted in almost all cases.” Kubala, 830 F.3d at 202.2

                                               III

       The court first addresses whether there was valid agreement between Gay and

Manchester to arbitrate.




       2
         The Fifth Circuit has clarified that a court will refuse to enforce a delegation clause
only in an exceptional case where an argument for arbitration is “wholly groundless.”
Kubala, 830 F.3d at 202 n.1 (citing Douglas v. Regions Bank, 757 F.3d 460, 464 (5th Cir.
2014)). But “so long as there is a ‘plausible’ argument that the arbitration agreement requires
the merits of the claim to be arbitrated, a delegation clause is effective to divest the court of
its ordinary power to decide arbitrability.” Id. (citing Douglas, 757 F.3d at 463).

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                                                A

       Gay contends that the Agreement is not valid because, under Texas contract law, an

arbitration agreement is illusory if one party can “avoid its promise to arbitrate by amending

the provision or terminating it altogether.” In re 24R, Inc., 324 S.W.3d 564, 567 (Tex. 2010)

(per curiam). Gay posits that Manchester can avoid its promise to arbitrate because it did not

sign the Agreement, so the Agreement is invalid for illusory consideration.

       Manchester responds that this issue, as well as Gay’s additional arguments that the

Agreement is unconscionable, must be referred to the arbitrator because they are “gateway”

issues that were delegated to the arbitrator in the Agreement. Manchester also maintains that

the language of the Agreement gives its clear return promise to be bound, and that the

Agreement contains no language allowing Manchester to unilaterally modify the Agreement.

                                                B

       The court concludes that the question whether the parties formed a valid agreement

to arbitrate is for the court to decide, and that Manchester has established that there is a valid

agreement between the parties to arbitrate.

       The determination of the existence of a valid agreement to arbitrate is a matter of state

contract law. Carey v. 24 Hour Fitness, USA, Inc., 669 F.3d 202, 205 (5th Cir. 2012). In

Texas, a valid contract must have “‘(1) an offer, (2) acceptance in strict compliance with the

terms of the offer, (3) meeting of the minds, (4) a communication that each party consented

to the terms of the contract, (5) execution and delivery of the contract with intent it become

mutual and binding on both parties, and (6) consideration.’” Song v. 4170 & 4231 & 4271

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Altoona Drive Holdings Ltd. P’ship, 616 Fed. Appx. 645, 648 (5th Cir. 2015) (per curiam)

(quoting Expro Arms., LLC v. Sanguine Gas Expl., LLC, 351 S.W.3d 915, 920 (Tex. App.

2011, pet. denied)). Here, the parties have only contested whether there was adequate

consideration to support formation of the Agreement. “[I]llusory promises imply lack of

adequate consideration, which affects contract formation.” Arnold, 890 F.3d at 550.

       “Consideration is a present exchange bargained for in return for a promise . . .

consist[ing] of either a benefit to the promisor or a detriment to the promisee.” Roark v.

Stallworth Oil & Gas, 813 S.W.2d 492, 496 (Tex. 1991). “[M]utual promises to submit all

employment disputes to arbitration constitute[] sufficient consideration, because both parties

[are] bound to the promises to arbitrate.” J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223,

228 (Tex. 2003) (citing In re Halliburton Co., 80 S.W.3d 566, 569 (Tex. 2002) (orig.

proceeding)). But “if the terms of a promise make performance optional, the promise is

illusory and cannot constitute valid consideration.” Tex. Custom Pools, Inc. v. Clayton, 293

S.W.3d 299, 309 (Tex. App. 2009, orig. proceeding).

       Gay maintains that Manchester is not bound to the Agreement because it never signed

the physical document. She contends that “Manchester in essence reserved for itself the

power to terminate the arbitration agreement at any time, without notice.” P. Br. at 7. Gay

is correct that when one party to an arbitration agreement can avoid enforcement of that

agreement, the agreement is invalid for illusory consideration. See Carey, 669 F.3d at 206;

Morrison v. Amway Corp., 517 F.3d 248, 257 (5th Cir. 2008); Weekly Homes, LP v. Rao, 336



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S.W.3d 413, 421 (Tex. App. 2011, pet. denied).3 But the cases she cites are factually

distinguishable because they turn on the presence of language in employee handbooks or

distributor agreements that specifically allows the employer to unilaterally revise the

arbitration agreement or to avoid arbitration entirely. This is not the case here. The

Agreement states that “[b]oth employee and the company understand that, by agreeing to

arbitration, they are knowingly and voluntarily agreeing to substitute a legitimate form of

dispute resolution (arbitration) for litigation, and thereby are waiving all rights they have

under law to have disputes resolved in court.” D. Mot. Ex. A at 1 (capitalization omitted).

Manchester contends that this language unquestionably binds it to the Agreement.

       Manchester also asserts that the Agreement does not contain any language that would

allow it to unilaterally modify the Agreement. Gay’s only response is unpersuasive. She

does not point to any language in the Agreement that would allow Manchester to avoid

arbitration or to unilaterally revise the Agreement. Instead, she argues that the absence of

Manchester’s signature on the physical Agreement would allow Manchester to avoid

arbitration as if the Agreement did contain such language. Texas courts have held, however,


       3
        Each of these cases involved an arbitration agreement within a larger employment
agreement or employee handbook. In Carey the arbitration agreement in the employee
handbook was illusory because the handbook gave the employer the unilateral “right to
revise, delete, and add to the employee handbook.” Carey, 669 F.3d at 206. Similarly, in
Morrison the arbitration agreement was illusory because the distributor agreement that
contained it could be “amended and published” at any time by the employer. Morrison, 517
F.3d at 257. Finally in Rao the court held an arbitration agreement was illusory because the
employee handbook stated that it was “not to be interpreted as a promise by the Company
that any particular situation [would] be handled in the express manner set forth in the text.”
Rao, 336 S.W.3d at 421.

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that when one party signs an arbitration agreement, the agreement is binding on both parties

if the other “accept[s] by [its] acts, conduct, or acquiescence in the terms of the contract.”

Hearthshire Braeswood Plaza Ltd. P’ship v. Bill Kelly Co., 849 S.W.2d 380, 392 (Tex. App.

1993, writ denied). The Texas General Arbitration Act (“TGAA”) requires that arbitration

agreements be in writing, but, with two exceptions that do not apply to these facts, it “does

not require that the agreement or the contract be signed by the parties in order for the

arbitration provision to be valid.” Id.4 “Under [Texas] general contract law, a party is bound

by the terms of the contract that [she] has signed,” and “it is not necessary that the

[arbitration] agreement be signed by both parties.” Id. (holding that employer’s acts in

seeking to compel arbitration clearly demonstrated its intent to be bound by the arbitration

agreement even though it had not signed physical document).

       Here, Gay showed her intent to be bound to the Agreement by initialing each page of

the document and signing it on the final page. D. Mot. Ex. A at 1-6. Manchester

demonstrated its intent to be bound by seeking to dismiss this action in favor of binding

arbitration. Manchester has explicitly conformed to the terms of the Agreement by

“promptly mov[ing] to discontinue” this proceeding in favor of binding arbitration. Id. at 5.

This demonstrates that Manchester intends to be bound by the Agreement. Without a

showing of any language in the Agreement that would allow Manchester to unilaterally


       4
       The TGAA requires that both parties sign a contract containing an arbitration
agreement “in two specific instances: contracts for the acquisition of property, services,
money, or credit where the consideration is $ 50,000 or less, and claims for personal injury.”
Hearthshire, 849 S.W.2d at 392.

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revise it or avoid arbitration, the cases on which Gay relies are inapposite.

       Moreover, the Agreement states that “the parties’ mutual promises to arbitrate

disputes, rather than litigate them before courts or other tribunals, provide adequate

consideration for each other.” Id. at 1. Texas courts have consistently held that “‘a written

instrument reciting a consideration imports one, and with such a recitation we presume the

consideration [to be] sufficient.’” McLernon v. Dynegy, Inc., 347 S.W.3d 315, 335 (Tex.

App. 2011, no pet.) (quoting Hoagland v. Finholt, 773 S.W.2d 740, 743 (Tex. App. 1989,

no writ)). The Agreement is enforceable against Manchester. Because Gay has failed to

show that the promises given in the Agreement are not binding on both parties, the court

concludes that the consideration is sufficient and that the parties formed a valid agreement

to arbitrate.

                                             IV

       The court next addresses whether it is for the court or the arbitrator to determine

whether the dispute in question falls within the scope of the arbitration agreement.

                                              A

       Manchester asserts that the Agreement delegates the issue of arbitrability to the

arbitrator in two separate places. First, Manchester contends that the Agreement explicitly

delegates “gateway” issues of arbitrability to the arbitrator in the “Dispute” section of the

Agreement. Manchester maintains that the broad language of the supposed delegation clause

demonstrates the parties’ intent to delegate “gateway” issues to the arbitrator. Second,

Manchester posits that the Agreement incorporates the Employment Arbitration Rules

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(“Arbitration Rules”) of the American Arbitration Association (“AAA”), and that this

incorporation constitutes a delegation of the determination of arbitrability to the arbitrator.

Third, Manchester asserts that the delegation clause reserves Gay’s remaining

unconscionability issues for resolution by the arbitrator. Gay has not responded to these

arguments.

                                               B

       The court concludes that Manchester has “clearly and unmistakably” shown that the

parties agreed to delegate “gateway” issues of arbitrability to the arbitrator. ConocoPhillips,

741 F.3d at 630. Because Manchester asserts that the Agreement contains a delegation

clause, the court’s “analysis is initially narrow.” Kubala, 830 F.3d at 203. If the court

determines that the Agreement does contain a valid delegation clause, it must refer the claim

to arbitration absent some exceptional circumstance. Id. Manchester first argues that the

Agreement contains a clause that explicitly delegates “gateway” issues of arbitrability to the

arbitrator. Manchester contends that the language in the Agreement is intentionally broad

to cover any issues of arbitrability.

        “[The] strong presumption in favor of arbitration applies with even greater force

when the parties include [] broad” language in the arbitration agreement. Sharifi v. AAMCO

Transmissions, Inc., 2007 WL 1944371, at *2 (N.D. Tex. June 28, 2007) (Fitzwater, J.). The

Agreement states that “[a]ll claims, disputes, or controversies arising out of or related to this

Agreement, including but not limited to its validity, scope, interpretation, enforceability,

performance, breach, or other challenge to the authority or capacity of any person signing

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this Agreements, shall be determined by binding arbitrations as described herein.” D. Mot.

Ex. A at 1. This language is similar to the delegation clause in Kubala, which provided:

“[t]he arbitrator shall have the sole authority to rule on his/her own jurisdiction, including

any challenges or objections with respect to the existence, applicability, scope,

enforceability, construction, validity and interpretation of this Policy and any agreement to

arbitrate a Covered Dispute.” Kubala, 830 F.3d at 204. In Kubala the Fifth Circuit held that

this language was sufficiently broad to show that “the parties agreed that the arbitrator and

not the court should be the decisionmaker on whether a given claim is arbitrable.” Id. The

language of the delegation clause in the Agreement clearly and unmistakably illustrates that

the parties agreed to delegate “gateway” issues of arbitrability to the arbitrator and not to the

court.

         Manchester also maintains that the incorporation of AAA Arbitration Rules

constitutes a delegation clause under Fifth Circuit precedent.           See Petrofac, Inc. v.

DynMcDermott Petroleum Operations Co., 687 F.3d 671, 675 (5th Cir. 2012). In Petrofac

the court held that the incorporation of AAA Arbitration Rules into the arbitration agreement

presented “clear and unmistakable evidence that the parties agreed to arbitrate arbitrability.”

Id. The AAA Arbitration Rules in force at the time provided that “the arbitrator shall have

the power to rule on his or her own jurisdiction, including any objections with respect to the

existence, scope or validity of the arbitration agreement.” Id. The court held that this

language clearly allowed the arbitration panel to make decisions regarding arbitrability. See

id. In the present case, Manchester points to the provision of the Agreement that states “the

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arbitration proceedings shall be conducted . . . in accordance with the Employment

Arbitration Rules of the [AAA] in effect at the time a demand for arbitration is made.” D.

Mot. Ex. A at 2. The AAA Arbitration Rules in effect at this time support Manchester’s

position. Rule 6.a states: “the arbitrator shall have the power to rule on his or her own

jurisdiction, including any objections with respect to the existence, scope, or validity of the

arbitration agreement.” Employment Arbitration Rules § 6.a. This is the same language that

the Fifth Circuit concluded in Petrofac was “evidence that the parties agreed to arbitrate

arbitrability.” Petrofac, 687 F.3d at 675. The language in the Agreement clearly and

unmistakably shows that the parties agreed to incorporate the AAA Arbitration Rules, and

therefore agreed to delegate arbitrability issues to the arbitrator. The court concludes that the

Agreement contains a valid delegation clause.

       Third, Manchester maintains that the delegation clause reserves Gay’s remaining

unconscionability issues for resolution by the arbitrator. In the usual analysis of an

arbitration agreement, the court examines “‘whether legal constraints external to the parties’

agreement foreclose[] . . . arbitration.’” Webb, 89 F.3d at 258 (quoting Mitsubishi Motors,

473 U.S. at 628). Similarly, a delegation clause is “valid under [the FAA] save upon such

grounds as exist at law or in equity for the revocation of any contract.” Rent-A-Ctr., 561 U.S.

at 70 (citations omitted). But the court may only consider such arguments “if a party

challenges the validity ‘of the precise agreement to arbitrate at issue.’” Arnold, 890 F.3d at

554 (quoting Rent-A-Ctr., 561 U.S. at 71). “[U]nless the party resisting arbitration has

‘challenged the delegation [clause] specifically, [the] court must treat it as valid, . . . leaving

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any challenge to the validity of the agreement as a whole for the arbitrator.’” Id. (quoting

Rent-A-Ctr., 561 U.S. at 72).       In Rent-A-Center the Court held that the plaintiff’s

unconscionability challenge was focused on the arbitration agreement as a whole rather than

the specific delegation clause, and therefore the issue was for the arbitrator to decide. See

Rent-A-Ctr., 561 U.S. at 74-76. Each of Gay’s unconscionability complaints begins with,

“[t]he [A]greement is unconscionable because,” and each concerns the enforceability of the

Agreement as a whole. P. Br. at 2. Gay does not challenge the validity of the delegation

clause specifically. For this reason, the court concludes that the unconscionability issues she

raises are for the arbitrator, not the court, to resolve. See Arnold, 890 F.3d at 554.

       Because the Agreement contains a valid delegation clause, the court must refer to the

arbitrator for binding arbitration the remaining unconscionability issues that Gay raises. The

court must also refer the underlying FLSA complaint to the arbitrator because it falls within

the explicit scope of the Agreement. See D. Mot. Ex. A at 1 (providing that “claims and/or

violations under the . . . Fair Labor Standards Act (“FLSA”) (wage and hour)” are subject

to mandatory, binding arbitration). All of these issues are “plainly the right and the

responsibility only of the arbitrator” to resolve. Kubala, 830 F.3d 204.

                                              V

       The court finally addresses whether the underlying complaint should be dismissed

with prejudice.

                                              A

       Manchester contends that applicable Fifth Circuit precedent mandates that the

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complaint be dismissed with prejudice because all of the issues that Gay raises are subject

to arbitration. Gay responds that the FAA allows the court to stay the action rather than

dismiss it, and that practical considerations of jurisdiction should lead the court to stay the

action pending the results of arbitration.

                                               B

       If the court determines that all claims in a lawsuit are arbitrable, it cannot allow the

suit to proceed. Heritage Capital Corp. v. Christie’s, Inc., 2017 WL 1550514, at *6 (N.D.

Tex. May 1, 2017) (Fitzwater, J.). Although the FAA provides that the court should

normally stay the action, the Fifth Circuit has held that dismissal with prejudice is

appropriate “in the proper circumstances.” Dean Witter Reynolds, 975 F.2d at 1164. “The

weight of authority clearly supports dismissal of the case when all of the issues raised in the

district court must be submitted to arbitration.” Id. (emphasis in original). “When, as here,

‘[t]he only possible role the Court could have would be to review the arbitration award once

the proceedings are concluded[,]’ the court should dismiss rather than stay [the underlying

complaint].” Heritage Capital Corp., 2017 WL 1550514, at *6 (quoting SGC Health Grp.,

Inc. v. eClinicalWorks, LLC, 2016 WL 2595109, at *2 (N.D. Tex. May 4, 2016) (Lynn,

C.J.)). “The reason for dismissal with prejudice is that retaining jurisdiction of the action by

the district court serves no purpose because any remedies after arbitration are limited to

judicial review based on the grounds set forth in the FAA.” Atlas Health, LLC v. Geoffrey,

2018 WL 1026271, at *4 (N.D. Tex. Feb. 23, 2018) (Lindsay, J.). Because the court has

concluded that all of the issues raised by Gay are arbitrable, the court grants the motion to

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dismiss with prejudice.

                                        *     *     *

      For the reasons explained, the court grants Manchester’s motion to dismiss and

dismisses the action with prejudice by judgment filed today.

      SO ORDERED.

      October 22, 2018.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




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